Steven John Moser (SM1133)
Steven J. Moser, P.C.

3 School Street, Suite 207B

Glen Cove, New York 11542
(516) 671-1150 e F (516) 882-5420

 

Attorney for Plaintiff
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NASSAU
KARLA LOPEZ-SERRANO, Case No. 14-Civ.-06056
Plaintiff, COMPLAINT
-against-
ALLISON ROCKMORE,

Defendants.

 

Plaintiff Karla Lopez-Serrano (“Plaintiff” or “Ms. Lopez”), complaining of

defendant Allison Rockmore (Rockmore), alleges as follows:
NATURE OF THE ACTION

1. This lawsuit seeks to recover overtime compensation for the Plaintiff, a
domestic service worker, under the FLSA, 29 U.S.C. 201, et seq., and the New York
Labor Law §§ 170 and 191.

2. This lawsuit seeks to recover minimum wages not paid to the Plaintiff
during her last week of employment under the FLSA.

3. This lawsuit seeks to recover damages for violations of the anti-retaliation
provisions of the FLSA (29 U.S.C. § 215) and the NYLL § 215.

4. This lawsuit also seeks to recover damages for wage violations under
NYLL §195-1(a)(for failure to provide a wage notice) and NYLL §195-3(for failure to

provide a wage statement).
JURISDICTION AND VENUE

5. This Court has subject matter jurisdiction pursuant to 29 U.S.C. § 216(b),
28 U.S.C. §§ 1331 and 1337, and supplemental jurisdiction over Plaintiffs’ state law
claims pursuant to 28 U.S.C. § 1367, as such claims are so related in this action to the
federal claims that they form part of the same case or controversy under Article III of the
United States Constitution.

6. Venue is proper in the Eastern District of New York pursuant to 28 U.S.C.
§ 1391. A substantial part of the events or omissions giving rise to the claims in this
action occurred within the Eastern District of New York.

THE PARTIES
Plaintiff Karla Lopez-Serrano

7. Plaintiff is an adult individual who is a resident of Nassau County, New
York.

8. Plaintiff was employed as a domestic worker in the defendant’s home
from December 2011 through September 2012.

Defendant Allison L. Rockmore

9. Defendant Allison L. Rockmore (“Rockmore”) is an adult individual

residing at 4 White Oak Tree Road, Syosset, County of Nassau, State of New York.
PLAINTIFF'S FACTUAL ALLEGATIONS

10. In December 2011 Rockmore hired the Plaintiff as a domestic worker in

Ms. Rockmore’s home at 4 White Oak Tree Road, Syosset, New York.

11. | Rockmore paid the Plaintiff a weekly salary of between $425-$500.
12. Rockmore did not record the hours worked by the Plaintiff while under her
employ0000.

13. | Rockmore has no personal knowledge of the actual hours worked by the
Plaintiff while under her employ.

14. _—— The Plaintiff’s regular workweek was from Monday to Friday.

15. The Plaintiff worked for Rockmore on September 10, 2014, September 11,
2014, September 12, 2014, September 13, 2014 and September 14, 2014.

16. Rockmore usually paid the Plaintiff on Friday.

17. On Friday, September 14, 2014 Rockmore did not pay the Plaintiff for
wages earned from September 10, 2012 through September 14, 2012.

18. On Sunday, September 16, 2012 Rockmore received a request from the
Plaintiff to have a “day off’ on Monday September 17" 2012.

19. On Sunday, September 16, 2012 Rockmore responded that she could not
give the Plaintiff the day off.

20. On Monday, September 17, 2012 the Plaintiff did not report to work.

21. On Tuesday, September 18, 2012 Rockmore sent a text message to the
Plaintiff which gave the Plaintiff the rest of the week off, and concluded “T’ll see you on
Monday. Take care.”

22. On Sunday, September 23, 2012 Rockmore sent a text message to the
Plaintiff which stated in part “...tomorrow is not a good day so don’t come. I will call

you tomorrow.”
23. | OnSunday, September 23, 2014 Rockmore sent another text message to
the Plaintiff which stated “Hi Karla I can’t’ talk right now. I will call u tomorrow.
Tomorrow is not a good day. So don’t come tomorrow. I will call u tomorrow.”

24. OnMonday, September 24, 2012 Rockmore did not call the Plaintiff.

25. On Monday, September 24, 2014 Rockmore received a text message from
the Defendant which stated “Hi, Mrs. Allison, I’m been waiting for your call. What ru
want me to do. Come back to work for you or not any more? I really need to know so I
know what to do. Please let me know soon.”

26. On Tuesday, September 25, 2012 at 7:33 am Rockmore (who is an
attorney) sent the Plaintiff a text message which stated, in part “I’m in court right now. U
left me hanging at a really bad time. U didn’t even have the courtesy to call me that
Monday morning . You knew it was a holiday and u know I have to go to work. To not
call or come to work Monday morning after u said u would was not right...”

27. On Tuesday, September 25, 2014 Rockmore received a text message from
the Plaintiff as follows: “I’m so sorry what I did to u I just want my stuff and my week
pay because u may not let me work for u I am so sorry please forgive me mrs Allison.”
[Emphasis supplied].

28. On Tuesday, September 25, 2014 Rockmore received another text
message from the Plaintiff as follows: “At least let me get my cloths. Ifur going to pay
me pay me when I go get my cloths and if ur not going to pay me then don’t.”

29. On Sunday, September 30, 2012 Rockmore received another text message

from the Plaintiff as follows: “Hi, Mrs Allison, please Mrs let me come back to work for
you or just let me get my stuff back please. I’m sorry what I did to you please forgive me
and give me another chanse.”

30. On Saturday, October 20, 2012 at 7:54 am Rockmore sent a text message
to the Plaintiff which stated, in part: “Hi Karla. Ur clothes are at the end of the
driveway. Please get them before 9...”

31. On Saturday, October 20, 2012 Rockmore received the following text
message from the Plaintiff: “Hi, what r about the money? Is in there I wont stop coming
to ur house if you don’t pay me.”

32. On Saturday, October 20, 2012, Rockmore sent the following text
message to the Plaintiff: “I’ve told u. U cost me hundreds of dollars to replace u on an
emergency basis for ur failure to show up. Now ur threatening me. I will call the
police.”

33. On Saturday, October 20, 2014, Rockmore received the following text
message from the Plaintiff: “So that’s not my business u deed to give me my money. I
don’t care.”

34. On Saturday October 20, 2014, Rockmore sent text messages to the
Plaintiff which stated in part:

This is the last communication I am having w you. Ur clothes are at the end of

the driveway. I’m not leaving them out all day. If they r not picked up by 9 I will

call the police make a report that those items were here for u to pick up and u

didn’t pick them up. I then I will give them to charity...

This will confirm that Ur belongings were picked up in a black/dark car at

approximately 9:10 am. Plz don’t’ call or contact or come to my home...
PROCEDURAL HISTORY

35. On December 7, 2012 the Plaintiff commenced an action in New York
State Supreme Court, Nassau County, in which the plaintiff asserted claims under the
New York Labor Law. Serrano v. Rockmore, Index No. 014963/2012 (the “State
Action”).

36. It was hoped that there would be an early resolution of the Plaintiffs
claims, and there would not be the need to invoke the Plaintiff's rights under the FLSA or
burden the Federal Courts with this case.

37. Instead, that case has been vigorously defended by Rockmore in the State
Action. Rockmore has continued to refuse to pay the plaintiff for her last week of
wages. The depositions of all parties have been conducted. Plaintiff has expended
significant efforts and mounted significant legal fees in prosecuting the State Action.

38. Plaintiff intends on discontinuing the State Action so that the Plaintiff may
pursue her State and Federal Remedies concurrently in Federal Court.

FIRST CAUSE OF ACTION
MINIMUM WAGE VIOLATION
FAIR LABOR STANDARDS ACT, 29 U.S.C. §§ 201 ET SEQ.

39. Plaintiff realleges and incorporates by reference all allegations in all
preceding paragraphs.

40. Plaintiff was a domestic employee.

41. Rockmore employed the Plaintiff.

42. Effective May 25, 2009, the federal minimum wage for domestic

employees is $7.25 per hour.
43. Rockmore failed to pay Plaintiff the minimum wages to which she is
entitled for work performed on September 10, 2014, September 11, 2014, September 12,
2014, September 13, 2014 and September 14, 2014.

44. Rockmore’s violations of the FLSA have been willful, in that she knew or
should have known that her actions, as described herein, violated the FLSA.

45. | Because Rockmore’s violations of the FLSA were willful, a three-year
statute of limitations applies pursuant to 29 U.S.C. § 255.

SECOND CAUSE OF ACTION
OVERTIME VIOLATIONS
FAIR LABOR STANDARDS ACT, 29 U.S.C. §§ 201 ET SEQ.

46. Plaintiff realleges and incorporates by reference all allegations in all
preceding paragraphs.

47. Rockmore failed to pay Plaintiff overtime wages to which she is entitled
under the FLSA.

48. Rockmore’s violations of the FLSA have been willful, in that she knew or
should have known that her actions, as described herein, violated the FLSA.

49. Because Rockmore’s violations of the FLSA were willful, a three-year
statute of limitations applies pursuant to 29 U.S.C. § 255.

THIRD CAUSE OF ACTION
RETALIATION UNDER 29 U.S.C. 215(a)(3)

50. Plaintiff realleges and incorporates by reference all allegations in all

preceding paragraphs.

51. Plaintiff complained to Rockmore that she be paid her wages.
52. In retaliation against the Plaintiff, Rockmore texted “I will call the
police..”

53. In retaliation against the Plaintiff, Rockmore placed the Plaintiff's clothes
in garbage bags, left them at the end of Rockmore’s driveway, and texted “Ur clothes are
at the end of the driveway. I’m not leaving them out all day. If they r not picked up by 9
I will call the police make a report that those items were here for u to pick up and u didn’t
pick them up. I then I will give them to charity...”

FOURTH CAUSE OF ACTION
UNPAID OVERTIME — NEW YORK LABOR LAW 8170

54. Plaintiff realleges and incorporates by reference all allegations in all
preceding paragraphs.

55. The plaintiff was a “domestic worker” within the meaning of the NYLL.

56. The plaintiff resided in Rockmore’s home.

57. Pursuant to NYLL §170 Rockmore was obligated to pay overtime pay at
the rate of one and one-half times the regular rate of pay in excess of forty four (44) hours
in a given work week.

58. Defendants failed to pay the Plaintiff overtime wages to which she is
entitled under NYLL §170.

59. Defendants’ violations of the NYLL, as described in this Complaint, have
been willful and intentional.

FIFTH CAUSE OF ACTION

NON-PAYMENT OF WAGES UNDER NYLL 191
60. Plaintiff realleges and incorporates by reference all allegations in all
preceding paragraphs.

61. The plaintiff was a manual worker and as such was entitled to payment on
a weekly basis pursuant to NYLL §191.

62. The Defendant Rockmore has failed to pay the plaintiff her lawfully
earned wages for her last week of employment.

SIXTH CAUSE OF ACTION
WAGE STATEMENT VIOLATIONS - NEW YORK LABOR LAW §§ 195 & 198

63. Plaintiff realleges and incorporates by reference all allegations in all
preceding paragraphs.

64. | New York Labor Law §195, subdivision three, requires an employer to
furnish to each employee “a statement with every payment of wages, listing the
following: the dates of work covered by that payment of wages; name of employee; name
of employer; address and phone number of employer; rate or rates of pay and basis
thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other;
gross wages; deductions; allowances, if any, claimed as part of the minimum wage; and
net wages. For all employees who are not exempt from overtime compensation as
established in the commissioner's minimum wage orders or otherwise provided by New
York state law or regulation, the statement shall include the regular hourly rate or rates of
pay; the overtime rate or rates of pay; the number of regular hours worked, and the
number of overtime hours worked.”

65. Throughout the course of plaintiff's employment, the Defendant

Rockmore failed to provide the statement required by New York Labor Law § 195(3)
SEVENTH CAUSE OF ACTION
WAGE NOTICE VIOLATIONS - NEW YORK LABOR LAW §§ 195 & 198

66. Plaintiff realleges and incorporates by reference all allegations in all
preceding paragraphs.

67. | New York Labor Law §195(1)(a), requires an employer to furnish to each
employee “a notice containing the following information: the rate or rates of pay and
basis thereof. ..in writing in English and in the language identified by each employee as
the primary language of such employee.”

68. Throughout the course of plaintiff's employment, the Defendant
Rockmore failed to provide the notice required by New York Labor Law § 195(1)(a).

EIGHTH CAUSE OF ACTION
UNLAWFUL RETALIATION - NEW YORK LABOR LAW §215

69. Plaintiff realleges and incorporates by reference all allegations in all
preceding paragraphs.

70. | Anemployer may not “discharge, threaten, penalize, or in any other
manner discriminate or retaliate against any employee” for complaining of conduct to the
employer that violates any provision of Chapter 31 of the New York Labor Law. NYLL
§ 215-1.

71. The plaintiff engaged in protected activity when she complained to
Defendant Rockmore regarding the non-payment of wages.

72. In retaliation against the Plaintiff, Rockmore texted “I will call the

police..”

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73. In retaliation against the Plaintiff, Rockmore placed the Plaintiff's clothes
in garbage bags, left them at the end of Rockmore’s driveway, and texted “Ur clothes are
at the end of the driveway. I’m not leaving them out all day. If they r not picked up by 9
I will call the police make a report that those items were here for u to pick up and u didn’t
pick them up. I then I will give them to charity...”

74. The defendant Rockmore’s conduct constitutes unlawful retaliation under
§215.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court grant the following

relief:
A. Unpaid overtime pay;
B. Unpaid minimum wages;
C. Unpaid wages;
D. An award of damages under NYLL § 198 for defendants’ Wage Statement

Violations;
E. An award of damages under NYLL §198 for defendants’ Wage Notice
Violations;

F, Attorneys’ fees;

G. Liquidated damages in an amount equal to unpaid minimum wages under
29 U.S.C. §216;
H. Liquidated damages in an amount equal to unpaid overtime wages under

29 U.S.C. §216;

-ll-
Case 2:14-cv-06056-GXB Document1 Filed 10/15/14 Page 12 of 14 PagelD #: 12

I. Liquidated damages in an amount equal to unpaid overtime under NYLL
§663;

J. Liquidated damages in an amount equal to unpaid wages under NYLL
§663;

K. Liquidated damages in the amount of $10,000.00 pursuant to NYLL §215;

L. Such legal or equitable relief as may be appropriate to effectuate the
purposes of 29 U.S.C. §215.

M. Such other relief as this Court shall deem just and proper.

Dated: Glen Cove, New York
October 15, 2014

  
  

ly Submitted,
. MOSER, P.C.

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* Stévetrohn Moser __
1 School Street, Suite 303
- Glen Cove, New York 11542
; (516) 671-1150 ¢ F (516) 882-5420
stevenjmoserpc@gmail.com

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JS 44 (Rev. 1/2013)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing
provided by local rules of court. This form, approved by the Judicial Conference of the United States in

CIVIL COVER SHEET

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
Karla Lopez-Serrano

(b) County of Residence of First Listed Plaintiff Nassau
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Steven J. Moser, P.C.

3 School Street, Suite 207B, Glen Cove, NY 11542

DEFENDANTS
Allison Rockmore

Attorneys (If Known)

 

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Law Offices of David S. Feather
666 Old Country Rd., Suite 605, Garden City, New York 11530

and service of pleadings or other papers as required by law, except as
eptember 1974, is required for the use of the Clerk of Court for the

Nassau

 

 

 

 

   

 

 

 

 

    

 
 

 

 

   

 

   

 

 

 

 

   

 

(516) 671-1150 (516) 745-9000
II. BASIS OF JURISDICTION (Place an “x” in One Box Only) IIL, CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “xX” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
01. US. Government % 3° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O 1 © 1 Incorporated or Principal Place o4 04
of Business In This State
G2. US. Government 0 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place aos os
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a G3 0 3 Foreign Nation o6 O86
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only)
po CONTRACE : TORTS eps JES BANKRUPTCY 250) STATUTES ::
6 110 Insurance PERSONAL INJURY PERSONAL INJUR 0 625 Drug Related Seizure (1 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine O 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal © 400 State Reapportionment
C130 Miller Act 315 Airplane Product Product Liability © 690 Other 28 USC 157 G 410 Antitrust
€ 140 Negotiable Instrument Liability 1 367 Health Care/ O 430 Banks and Banking
150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical P O 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights 0} 460 Deportation
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(Excludes Veterans) O 345 Marine Product Liability Ho SLA oe, ‘AL =| O 490 Cable/Sat TV
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of Veteran’s Benefits 0 350 Motor Vehicle 6 370 Other Fraud Act 1 862 Black Lung (923) Exchange
C1 160 Stockholders’ Suits 6 355 Motor Vehicle G 371 Truth in Lending OG 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 0 890 Other Statutory Actions
OG 190 Other Contract Product Liability G 380 Other Personal Relations O 864 SSID Title XVI O 891 Agricultural Acts
OC 195 Contract Product Liability | 360 Other Personal Property Damage ©) 740 Railway Labor Act OC 865 RSI (405(g)) © 893 Environmental Matters
1 196 Franchise Injury 385 Property Damage GO 751 Family and Medical ( 895 Freedom of Information
O 362 Personal Injury - Product Liability Leave Act Act
Medical Malpractice G 790 Other Labor Litigation CG 896 Arbitration
AL PROPERTY 2 CIVIL RIGHTS." >|: PRISONER PETITIONS |G 791 Employee Retirement FEDERAL TAX SUITS..." :| 1 899 Administrative Procedure
G 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: Income Security Act © 870 Taxes (U.S. Plaintiff Act/Review or Appeal of

O 220 Foreclosure

© 230 Rent Lease & Ejectment
OG 240 Torts to Land

O 441 Voting
© 442 Employment
O 443 Housing/

0 463 Alien Detainee
0 510 Motions to Vacate
Sentence

or Defendant)
871 IRS—Third Party
26 USC 7609

Agency Decision
950 Constitutionality of
State Statutes

 

 

 

 

 

 

G 245 Tort Product Liability Accommodations 530 General
© 290 All Other Real Property OC 445 Amer. w/Disabilities -] 4 535 Death Penalty oes IMMIGRATION:
Employment Other: © 462 Naturalization Application
CO 446 Amer. w/Disabilities -] (0 540 Mandamus & Other [0 465 Other Immigration
Other CG 550 Civil Rights Actions
448 Education 0 555 Prison Condition
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Proceeding State Court Appellate Court Reopened Another District Litigation
(speci

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

29 U.S.C. 201 et. seq.

Brief description of cause: .
Unpaid overtime and minimum wages

 

VI. CAUSE OF ACTION

 

 

 

 

 

 

 

VII. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes No
VIH. RELATED CASE(S)
inst i :
IF ANY (See instructions) suvae /) VW _———_ DOCKET NUMBER
DATE SIGNA’ F A’ YY OF RECO!
10/15/2014
FOR OFFICE USE ONLY eR
RECEIPT # AMOUNT APPLYING JFP JUDGE MAG. JUDGE
CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83.10 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a

certification to the contrary is filed.

], Steven J. Moser, Esq. , counsel for Plaintiff , do hereby certify that the above captioned civil action is
ineligible for compulsory arbitration for the following reason(s):

 

O monetary damages sought are in excess of $150,000, exclusive of interest and costs,
CO the complaint seeks injunctive relief,
O the matter is otherwise ineligible for the following reason

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

RELATED CASE STATEMENT (Section VII on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a)
provides that “A civil case is “related” to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or
because the cases arise from the same transactions or events, a substantial saving of judicial resources is likely to result from assigning both cases to the
same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be deemed “related” to another civil case merely because the civil
case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that “Presumptively, and subject to the power
of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still pending before the
court.”

NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)

 

1.) Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
County: Yes

2.) If you answered “no” above:
a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
County?

 

b) Did the events of omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
District?

 

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau
or Suffolk County?

(Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

BAR ADMISSION

I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
Yes [] No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?
Yes (if yes, please explain) No

 
   
 

I certify the acguraey fded above.

Signature:

 
